Case 18-71596-sms       Doc 17       Filed 03/04/19 Entered 03/04/19 11:34:58          Desc Main
                                    Document      Page 1 of 10


                   UNITED STATES BANKRUPTCY COURT
             NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 IN RE:                                            * CASE NO. 18-71596-sms

 Michael Allen Morgan                              * CHAPTER 13
 AKA Michael A Morgan; AKA Michael                 *
 Morgan
                                                   *
       Debtor.                                     *


                                   CERTIFICATE OF SERVICE
       I certify that I served Debtor with a true and correct copy of the within and foregoing
“Amendment to Chapter 13 Schedules I, J, Disclosure of Compensation -- Rule 2016(b),
Summary of Schedules and Statistical Summary” by depositing the same in the United States
Mail with adequate postage affixed to ensure delivery and addressed as follows:
Michael Allen Morgan
4920 Lewis Road
Powder Springs GA 30127

       I further certify that Mary Ida Townson, the Chapter 13 Trustee, was served via the ECF
electronic mail/noticing system.
                                             DATE:03/04/2019
                                             /s/
                                             Iesha Warmack, GA Bar No. 865980
                                             Attorney for Debtors
Clark & Washington, LLC
3300 Northeast Expressway
Building 3
Atlanta GA 30341
Phone: 404-522-2222
Fax: 770-220-0685
Email: ecfnotices@cw13.com
             Case 18-71596-sms                    Doc 17    Filed 03/04/19 Entered 03/04/19 11:34:58                                 Desc Main
                                                                                                                                            3/01/19 10:52AM
                                                           Document      Page 2 of 10


Fill in this information to identify your case:

Debtor 1                      Michael Allen Morgan

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF GEORGIA - ATLANTA
                                              DIVISION

Case number               18-71596-sms                                                                   Check if this is:
(If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                     Employed
       attach a separate page with           Employment status
                                                                      Not employed                                 Not employed
       information about additional
       employers.
                                             Occupation            Retired since 2013
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $              0.00       $              N/A

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$             N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $           0.00              $        N/A




Official Form 106I                                                      Schedule I: Your Income                                                    page 1
            Case 18-71596-sms              Doc 17        Filed 03/04/19 Entered 03/04/19 11:34:58                                  Desc Main
                                                                                                                                          3/01/19 10:52AM
                                                        Document      Page 3 of 10

Debtor 1    Michael Allen Morgan                                                                  Case number (if known)    18-71596-sms


                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $             N/A

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $               N/A
      5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $               N/A
      5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $               N/A
      5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $               N/A
      5e.    Insurance                                                                     5e.        $              0.00     $               N/A
      5f.    Domestic support obligations                                                  5f.        $              0.00     $               N/A
      5g.    Union dues                                                                    5g.        $              0.00     $               N/A
      5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00     $               N/A
      8b. Interest and dividends                                                           8b.        $              0.00     $               N/A
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $          0.00         $               N/A
      8d. Unemployment compensation                                                        8d.        $          0.00         $               N/A
      8e. Social Security                                                                  8e.        $      1,274.00         $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                0.00   $                     N/A
      8g. Pension or retirement income                                                     8g. $               230.00   $                     N/A
      8h. Other monthly income. Specify: Daughter's Contribution                           8h.+ $              749.00 + $                     N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          2,253.00         $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              2,253.00 + $             N/A = $          2,253.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.   $         2,253.00
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                       page 2
        Case 18-71596-sms                     Doc 17          Filed 03/04/19 Entered 03/04/19 11:34:58                                   Desc Main
                                                                                                                                                3/01/19 10:52AM
                                                             Document      Page 4 of 10


Fill in this information to identify your case:

Debtor 1                 Michael Allen Morgan                                                              Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                             A supplement showing postpetition chapter
(Spouse, if filing)                                                                                                  13 expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF GEORGIA -                                             MM / DD / YYYY
                                          ATLANTA DIVISION

Case number           18-71596-sms
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s       Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age               live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                                                                                      Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                                   0.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              35.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             113.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                              75.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                               0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                               0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                             page 1
       Case 18-71596-sms                      Doc 17         Filed 03/04/19 Entered 03/04/19 11:34:58                                       Desc Main
                                                                                                                                                   3/01/19 10:52AM
                                                            Document      Page 5 of 10

Debtor 1     Michael Allen Morgan                                                                      Case number (if known)      18-71596-sms

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                     6a.   $                               150.00
      6b. Water, sewer, garbage collection                                                                   6b.   $                                12.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                     6c.   $                                 0.00
      6d. Other. Specify: Trash                                                                              6d.   $                                17.00
             Cable/Internet                                                                                        $                               175.00
7.    Food and housekeeping supplies                                                           7.                  $                               254.00
8.    Childcare and children’s education costs                                                 8.                  $                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9.                  $                                20.00
10.   Personal care products and services                                                    10.                   $                                20.00
11.   Medical and dental expenses                                                            11.                   $                                20.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 100.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  213.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                  749.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:                                                                        21. +$                                                  0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                     1,953.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                     1,953.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               2,253.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              1,953.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 300.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
            Case 18-71596-sms                        Doc 17           Filed 03/04/19 Entered 03/04/19 11:34:58                     Desc Main
                                                                                                                                          3/01/19 10:52AM
                                                                     Document      Page 6 of 10
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                        NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION
 In re       Michael Allen Morgan                                                                             Case No.      18-71596-sms
                                                                                Debtor(s)                     Chapter       13

              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S) - AMENDED
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  4,750.00
             Prior to the filing of this statement I have received                                        $                       0.00
             Balance Due                                                                                  $                  4,750.00

2.     $    310.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       b. [Other provisions as needed]
               Exhibit "A" - Base Fee Services

                  Helping client obtain Pre-filing credit briefing
                  Pay advices and tax transcripts/returns
                  Initial Intake, etc.
                  Pre-confirmation turn-over proceedings/Stop creditor action
                  Motion to Extend or to Impose
                  Certificate of Exigent Circumstances
                  EDO
                  341 hearing and reset 341 hearing
                  Confirmation hearing and reset confirmation hearing
                  Modifications necessary to confirm plan
                  Lien avoidances necessary to confirm plan
                  Objections to claim necessary to confirm plan
                  Bar date review (and all resulting/related pleadings)
                  Pre-discharge financial counseling certificate
                  Pre-discharge DSO certification

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Exhibit "B" - Post-Confirmation, Non-Base Fees Services/A La Carte Items:

                  Motion to Dismiss Case ($300)            Modification of Confirmed Plan ($300)
                  Motion to Suspend/Excuse Default ($300) Motion to Sell/Transfer Property ($500)
                  Motion to Approve Compromise ($500)       Motion to Approve Loan/Credit ($300)
                  Application to Employ Professional ($300) 362(k) Motion/Turnover/Damages ($300)
                  Trustee/Cred Motion to Modify ($100)     Objection to Claim ($100)
                  Motion to Sever ($300)                   Motion to Reimpose Stay ($500)
                  Motion to Reopen/Vacate Dismissal ($500) Motion to Retain ($300)
                  Motion for Entry of Discharge ($300)      Motion to Vacate Discharge ($300)
                  Motion to Vacate/Reconsider Order ($300) Objection to Default Motion ($300)


Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
           Case 18-71596-sms                         Doc 17           Filed 03/04/19 Entered 03/04/19 11:34:58                Desc Main
                                                                                                                                     3/01/19 10:52AM
                                                                     Document      Page 7 of 10
 In re       Michael Allen Morgan                                                                        Case No.   18-71596-sms
                                                               Debtor(s)

              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S) - AMENDED
                                     (Continuation Sheet)
                  Motion for Determination re: Rule 3002.1 ($300)
                  Motion for Sanctions/Contempt (other than 362) ($300)
                  Motion for Relief from Stay (no payment dispute) ($300)
                  Motion for Relief from Stay (payment dispute) ($500)

                  If Client wishes to retain Attorney to represent Client in any Adversary Proceeding or Appellate Proceeding that
                  arises in or is related to this case, Client and Attorney shall execute a separate contract setting forth the fee and
                  scope of representation for that proceeding.

                  If the case is dismissed or converted to another chapter, Debtor directs the Trustee to pay agreed upon fees to
                  Debtor's attorney up to A) $2,500.00 if the case is dismissed or converted prior to confirmation of the plan, or B)
                  the allowed fees upon conversion or dismissal after confirmation of the plan
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding. Pursuant to General Order No. 9, I certify that I provided to the debtor(s) a copy of the "Rights and Responsibilities
 Statement Between Chapter 13 Debtors and Their Attorneys." I certify that a copy of each of the notices required by 11 U.S.C. Section 342(b),
 Section 527(a)(2), and Section 527(b) has been provided to, and discussed with, the debtor(s).

     March 1, 2019                                                                  /s/ Iesha Warmack, GA Bar No. 865980
     Date                                                                           Iesha Warmack, GA Bar No. 865980
                                                                                    Signature of Attorney
                                                                                    Clark & Washington, L.L.C.
                                                                                    3300 Northeast Expressway
                                                                                    Building 3
                                                                                    Atlanta, GA 30341
                                                                                    770-488-9338 Fax: 770-220-0685
                                                                                    cworders@cw13.com
                                                                                    Name of law firm


 Date March 1, 2019                                                     Signature   /s/ Michael Allen Morgan
                                                                                    Michael Allen Morgan
                                                                                    Debtor




Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
              Case 18-71596-sms                          Doc 17             Filed 03/04/19 Entered 03/04/19 11:34:58                                              Desc Main
                                                                                                                                                                         3/01/19 10:52AM
                                                                           Document      Page 8 of 10
 Fill in this information to identify your case:

 Debtor 1                   Michael Allen Morgan
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 Case number           18-71596-sms
 (if known)
                                                                                                                                                                  Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             540,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $                6,710.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             546,710.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $              81,927.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                       0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $                      95.00


                                                                                                                                     Your total liabilities $                82,022.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                2,253.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                1,953.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
           Case 18-71596-sms                         Doc 17           Filed 03/04/19 Entered 03/04/19 11:34:58                      Desc Main
                                                                                                                                           3/01/19 10:52AM
                                                                     Document      Page 9 of 10
 Debtor 1      Michael Allen Morgan                                                       Case number (if known) 18-71596-sms

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $                979.00


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
Case 18-71596-sms        Doc 17    Filed 03/04/19 Entered 03/04/19 11:34:58             Desc Main
                                  Document     Page 10 of 10


                    UNITED STATES BANKRUPTCY COURT
             NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 IN RE:                                            * CASE NO. 18-71596-sms

 Michael Allen Morgan                              * CHAPTER 13
 AKA Michael A Morgan; AKA Michael                 *
 Morgan
                                                   *
       Debtor.                                     *



             UNSWORN DECLARATION UNDER PENALTY OF PERJURY


       I, Michael Allen Morgan, hereby certify under penalty of perjury that I have direct
knowledge of the information in the attached pleading and it is true and correct to my best belief.



       Signed: s/                                                   Date: 2/28/2019
               Michael Allen Morgan
